                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF IOWA
                                WESTERN DIVISION


 UNITED STATES OF AMERICA,
                 Plaintiff,                                     No. CR05-4097-MWB
 vs.                                                    RULE 11(c)(1)(C) REPORT AND
                                                      RECOMMENDATION CONCERNING
 GUILLERMO CORTEZ-AYALA,                                    PLEAS OF GUILTY
                 Defendant.
                                     ____________________


       On December 7, 2005, the above-named defendant, by consent, appeared before the
undersigned United States Magistrate Judge pursuant to Federal Rule of Criminal Procedure 11, and
entered pleas of guilty to Counts One and Two of the Indictment. After cautioning and examining
the defendant under oath concerning each of the subjects mentioned in Rule 11, the court determined
that the guilty pleas were knowledgeable and voluntary, and the offenses charged were supported
by an independent basis in fact containing each of the essential elements of the offenses charged in
Counts One and Two of the Indictment. The court therefore RECOMMENDS that the pleas of
guilty be accepted and the defendant be adjudged guilty.
       At the commencement of the Rule 11 proceeding, the defendant was placed under oath and
advised that if he answered any questions falsely, he could be prosecuted for perjury or for making
a false statement. He also was advised that in any such prosecution, the Government could use
against him any statements he made under oath.
       The court then asked a number of questions to ensure the defendant’s mental capacity to
enter a plea. The defendant stated his full name, his age, and the extent of his schooling. The court
inquired into his history of mental illness and addiction to narcotic drugs. The court further inquired
into whether the defendant was under the influence of any drug, medication, or alcoholic beverage
at the time of the plea hearing. From this inquiry, the court determined that the defendant was not
suffering from any mental disability that would impair his ability to make knowing, intelligent, and



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voluntary pleas of guilty to the charges.
        The defendant acknowledged that he had received a copy of the Indictment, and he had fully
discussed these charges with his attorney.
        The court summarized the charges against the defendant, and listed the elements of the
crimes. The court determined that the defendant understood each and every element of the charges,
ascertained that the defendant’s counsel had explained each and every element of the charges fully
to the defendant, and the defendant’s counsel confirmed that the defendant understood each and
every element of the charges.
        The court then elicited a full and complete factual basis for all elements of the crimes
charged in Counts One and Two of the Indictment.
        The court advised the defendant of the consequences of his pleas, including, for each Count,
the maximum fine and the maximum term of imprisonment.
        With respect to Count One, the defendant was advised that the maximum fine is $2,000,000;
the maximum term of imprisonment is 40 years; the minimum term of imprisonment is five years;
the minimum period of supervised release is four years; and the maximum period of supervised
release is life.
        With respect to Count Two, the defendant was advised that the maximum fine is $2,000,000;
the maximum term of imprisonment is 40 years; the minimum term of imprisonment is five years;
the minimum period of supervised release is four years; and the maximum period of supervised
release is life.
        The court advised the defendant that he was pleading guilty under a plea agreement with the
Government that provided for the imposition of a specific, agreed sentence at the time of the
sentencing hearing. After confirming that a copy of the written plea agreement was in front of the
defendant and his attorney, the court determined that the defendant understood the terms of the plea
agreement. The court explained to the defendant that at the sentencing hearing, the district judge
would consider whether or not to accept the plea agreement and impose the agreed sentence. If the
district judge decided to accept the plea agreement and impose the agreed sentence, then the
defendant would receive the agreed sentence. If the district judge decided to reject the plea

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agreement and impose a different sentence, then the defendant would have an opportunity to
withdraw his pleas of guilty and plead not guilty. The court further advised the defendant that
pursuant to the terms of the plea agreement, which provided that he was pleading guilty pursuant
to Rule 11(c)(1)(C), Federal Rules of Criminal Procedure, he would be sentenced to a term of
imprisonment of 60 months. The court explained to the defendant that if the district judge rejected
the plea agreement and the defendant did not withdraw his guilty plea, then the court could dispose
of the case less favorably toward him than the plea agreement contemplated, including imposing a
longer sentence than the one to which the parties had agreed in the plea agreement.
       The defendant also was advised that the court was obligated to impose a special assessment
of $100.00 on each count, for a total of $200 which he must pay. He also was advised of the
collateral consequences of a plea of guilty. The defendant acknowledged that he understood all of
the above consequences.
       The court then explained supervised release to the defendant, and advised the defendant that
a term of supervised release would be imposed in addition to the sentence of imprisonment. The
defendant was advised that among other conditions of supervised release, he could not commit
another federal, state, or local crime while on supervised release, and he could not possess illegal
controlled substances while on supervised release. The defendant was advised that if he were found
to have violated a condition of supervised release, then his term of supervised release could be
revoked and he could be required to serve in prison all or part of the term of supervised release
without credit for time previously served on supervised release.
       The defendant was advised that parole has been abolished.
       The defendant indicated he had conferred fully with and was fully satisfied with his attorney.
The defendant’s attorney indicated that the attorney had had full access to the Government’s
discovery materials, and they supported a factual basis for the pleas.
       The defendant was advised fully of his right to plead not guilty, and have a jury trial,
including:
       1.      The right to assistance of counsel at every stage of the pretrial and trial proceedings;
       2.      The right to a speedy, public trial;

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       3.      The right to have his case tried by a jury selected from a cross-section of the
               community;
       4.      That he would be presumed innocent at each stage of the proceedings, and would be
               found not guilty unless the Government could prove each and every element of the
               offense(s) beyond a reasonable doubt;
       5.      That the Government could call witnesses into court, but the defendant’s attorney
               would have the right to confront and cross-examine those witnesses;
       6.      That the defendant would have the right to see and hear all witnesses presented at
               trial;
       7.      That the defendant would have the right to subpoena defense witnesses to testify at
               the trial, and if he could not afford to pay the mileage and other fees to require the
               attendance of those witnesses, then the Government would be required to pay those
               costs;
       8.      That the defendant would have the privilege against self incrimination; i.e., he could
               choose to testify at trial, but he need not do so, and if he chose not to testify, then the
               court would, if the defendant requested, instruct the jury that the defendant had a
               constitutional right not to testify;
       9.      That any verdict by the jury would have to be unanimous;
       10.     That he would have the right to appeal, and if he could not afford an attorney for the
               appeal, then the Government would pay the costs of an attorney to prepare the
               appeal.
       The defendant also was advised of the rights he would waive by entering pleas of guilty. The
defendant was told there would be no trial, he would waive all the trial rights just described, and he
would be adjudged guilty without any further proceedings except for sentencing.
       The defendant then confirmed that his decision to plead guilty was voluntary and was not
the result of any promises other than plea agreement promises, and his decision to plead guilty was
not the result of any threats, force, or anyone pressuring him to plead guilty.
       The defendant then confirmed that he still wished to plead guilty, and he pleaded guilty to
Counts One and Two of the Indictment.
       The court finds the following with respect to the defendant’s guilty pleas:
       1.      The guilty pleas were voluntary, knowing, not the result of force, threats or promises,
               except plea agreement promises, and the defendant is fully competent.


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       2.      The defendant is aware of the maximum punishment.
       3.      The defendant knows his jury rights.
       4.      The defendant has voluntarily waived his jury rights.
       5.      There is a factual basis for the pleas.
       6.      The defendant is, in fact, guilty of the crimes to which he is pleading guilty.
       The defendant has executed a Consent to the court’s Inspection of Presentence Report Prior
to Guilty Plea. The defendant was advised that a written presentence investigation report would be
prepared to assist the court in sentencing. The defendant was asked to provide the information
requested by the U.S. Probation Office to prepare the presentence investigation report. The
defendant was told that he and his counsel would have an opportunity to read and object to the
presentence report before the sentencing hearing, and he and his counsel would be afforded the
opportunity to be heard at the sentencing hearing.
       The defendant was advised that the failure to file written objections to this Report and
Recommendation within 10 days of the date of its service would bar him from attacking this court’s
Report and Recommendation, which recommends that the assigned United States District Judge
accept the defendant’s pleas of guilty. A copy of this Report and Recommendation was served on
the defendant and his attorney at the conclusion of the proceeding.
       DONE AND ENTERED at Sioux City, Iowa, this 7th day of December, 2005.




                                              PAUL A. ZOSS
                                              MAGISTRATE JUDGE
                                              UNITED STATES DISTRICT COURT




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